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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-                  Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,               MEMORANDUM IN SUP-
M.D., on behalf of herself and her patients,         PORT OF EMERGENCY MO-
and DARIN L. WEYHRICH, M.D., on behalf               TION TO STAY PENDING AP-
of himself and his patients,                         PEAL
                Plaintiffs,

v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTY PROSECUTING ATTORNEYS, in
their official capacities,
                Defendants.
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                                   INTRODUCTION

      Two days ago, the Court granted a preliminary injunction against the Attorney

General and ordered the parties to submit a litigation and discovery plan within 14

days. Dkt. 153. Yesterday, the Attorney General appealed this Court’s order. Dkt.

154. So in light of the imminent deadlines set by the Court, the Attorney General

now moves on an emergency basis to stay all proceedings pending appeal, including

the Court’s order to submit a litigation and discovery plan.

      First, the Attorney General will experience irreparable harm absent a stay.

Subjecting the Attorney General to discovery and further litigation will irretrievably

strip away his sovereign interest in being free from such proceedings. This interest

is so important that courts have held that it alone requires a stay.

      Second, the Attorney General is likely to succeed on the merits of his appeal

challenging the Court’s jurisdiction to enter an injunction. The Attorney General

continues to maintain for the reasons stated in prior briefing that no justiciable con-

troversy exists. Although the Court has ruled otherwise, the fact that it has deferred

ruling as to the County Prosecutors shows clearly the serious questions regarding

jurisdiction in this case. Those questions, among others, warrant a stay.

      Third, the balance of the harms and public interest favor a stay. Because the

Attorney General has disclaimed the prosecutorial authority that the Court has en-

joined, see Formal AG Opinion 23-1 (Dkt. 106-1), Plaintiffs will not be harmed by a

stay. And it is in the public interest that federal courts not issue advisory opinions.

      The Court should therefore grant a stay of proceedings pending appeal.



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                                       ARGUMENT

I.   A stay is required to prevent irreparable harm.

       Without a stay, the Attorney General would suffer irreparable harm through

the loss of his Eleventh Amendment immunity. This is so because “[t]he defense of

sovereign … immunity protects government officials not only from having to stand

trial, but from having to bear the burdens attendant to litigation, including pretrial

discovery.” Blinco v. Green Tree Servicing LLC, 366 F.3d 1249, 1252 (11th Cir. 2004);

Goshtasby v. Bd. of Tr. of Univ. of Ill., 123 F.3d 427, 428 (7th Cir. 1997). Yet “the

value to the States of their Eleventh Amendment immunity ... is for the most part

lost as litigation proceeds past motion practice.” P.R. Aqueduct & Sewer Auth. v.

Metcalf & Eddy, Inc., 506 U.S. 139, 145 (1993). That is why federal practice provides

state officials “with swift access to appellate review” to avoid “the costs and general

consequences of subjecting public officials to the risks of discovery and trial.” Summit

Med. Assocs. v. James, 998 F. Supp. 1339 (M.D. Ala. 1998). But if the Court were to

require the Attorney General “to continue discovery,” he “would irretrievably lose the

benefit of [his] immunity.” Christian v. Commonwealth of the N. Mariana Islands,

No. 1:14-CV-00010, 2016 WL 406340, at *2 (D. N. Mar. I. 2016).

       This irreparable harm to the Attorney General requires a stay here. In fact,

the right to “immediately appeal any order denying such immunity” is so important

that asserting it “‘divests the district court of jurisdiction to proceed with trial.’” Id.

(quoting Chuman v. Wright, 960 F.2d 104, 105 (9th Cir. 1992)). The Attorney General

has important arguments to raise here concerning his Eleventh Amendment



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immunity and the Court’s attendant lack of jurisdiction. As he has explained in prior

briefing, see Dkt. 106 at 2; Dkt. 107 at 6; Dkt. 127-1 at 6; Dkt. 128 at 6; Dkt. 147 at 3,

he has issued an official opinion that he lacks any authority to enforce Idaho Code §

18-622 “unless a county prosecutor specifically so requests and an appointment is

made by the district court under Idaho Code § 31-2603.” Dkt. 106-1 at 4. Since no

such request or appointment has occurred, the Attorney General lacks prosecutorial

authority and is not a proper defendant under Ex parte Young. See Dkt. 42 at 8; Dkt.

85 at 2–3.

      These serious and evolving questions of the Attorney General’s enforcement

authority have direct bearing on his sovereign immunity. Notably, the legislature’s

recent decision to not give the Attorney General enforcement authority over the stat-

ute at issue here “reinforce[s] the inapplicability of Planned Parenthood of Idaho, Inc.

v. Wasden, 376 F.3d 908 (9th Cir. 2004).” Dkt. 85 at 3. Among other things, Wasden

concerned a challenge to the law itself—not, as here, a challenge to a rescinded inter-

pretation by the Attorney General. And even if Wasden did apply, courts have held

a stay warranted in light of the possibility that “the Ninth Circuit should reconsider

its precedent” and hold the Attorney General “possesses sovereign immunity,” which

would mean he would “immediately be dismissed from this suit.” Christian, 2016 WL

406340, at *2. The Attorney General’s right to protect that immunity on appeal de-

mands a stay.




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II. The Attorney General is likely to succeed on his appeal.

      The Attorney General is likely to prevail on his contention that the Court lacks

Article III jurisdiction over this matter. As the Court is aware, the Attorney General

did not defend the Crane Letter on the merits, having rescinded it, and instead de-

fended the action entirely on jurisdictional grounds. The appeal will thus turn solely

on the question of jurisdiction, and the Attorney General’s arguments are likely to be

dispositive on appeal. The Attorney General addresses only a few of them here.

      First, the Attorney General is likely to prevail on his arguments that Plaintiffs

lack Article III standing. Critically, under Idaho law, criminal prosecutorial author-

ity—including for section 18-622—begins with county prosecutors and may only then

be referred out to the Attorney General through a court appointment. See Dkt. 106-

1 at 4; State v. Summer, 139 Idaho 219, 224, 76 P.3d 963, 968 (2003); Newman v.

Lance, 129 Idaho 98, 922 P.2d 395 (1996). Thus, any attempt to show standing as to

the Attorney General over the Crane Letter would require the Court to connect that

letter to the county prosecutors. See Dkt. 42 at 16–18. Plaintiffs made no attempt to

show that connection, and the county prosecutors’ declarations in their motion to dis-

miss conclusively refute any such link. Yet the Court decided to defer consideration

of the jurisdictional problems raised by those papers and to proceed with deciding the

merits. Dkt. 153 at 17. The Attorney General has strong arguments that putting

those jurisdictional questions aside to rule on the merits is inconsistent with the

Court’s “independent obligation to determine whether subject-matter jurisdiction ex-

ists[.]’” Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006) (citation omitted).



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       Second, the Attorney General is likely to prevail on his arguments that the

Court misapplied the Ninth Circuit’s “disavowal” jurisprudence. Those cases do not

apply here because they concern situations where operative state law prohibits the

plaintiff’s conduct, such that “the government’s failure to disavow enforcement”

weighs in favor of standing. Tingley v. Ferguson, 47 F.4th 1055, 1068 (9th Cir. 2022);

Cal. Trucking Ass’n v. Bonta, 996 F.3d 644, 653 (9th Cir. 2021). They do not apply

here, where Plaintiffs contend that the law as written allows their conduct. See Dkt.

1 ¶ 40; Dkt. 2-1 at 4–5. Nor does the law hold that a disavowal for reasons that are

“procedural—not substantive” is insufficient. Dkt. 153 at 38. The disavowal cases

require disavowal of enforcement, not a disavowal of the law itself. Tingley, 47 F.4th

at 1068. If the defendant has no position on a question, then there is no case or

controversy—nothing requires the defendant to go further and to take the same po-

sition as the plaintiff.

       Third, even accepting the Court’s analysis, there is no jurisdiction under the

standard the Court announced for itself at the end of its order:

       [I]t would not have been particularly difficult for the State to definitively
       establish that no case or controversy exists. That is, all it would have
       taken is for Attorney General Labrador to … make an affirmative state-
       ment that he, or his office, will not enforce Idaho’s criminal abortion stat-
       ute in such a manner.

Dkt. 153 at 54–55. The Attorney General did exactly that, repeatedly. He rescinded

the Crane Letter, see Withdrawal Letter (Dkt. 42-4), and stated directly to the Court

that this “opinion that does not state the attorney General’s opinion on any question

of Idaho law and is void and withdrawn … is not an opinion that is being en-

forced.” Tr. at 45–46 (Apr. 24, 2023) (emphasis added). He emphasized that he

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“neither holds nor defends” the interpretation of the Crane Letter. Dkt. 107 at 1; Dkt.

85 at 10. The Attorney General has made clear that he has not enforced the inter-

pretation of the Crane letter, is not enforcing it, and will not enforce it.

      The Attorney General went even further than these statements of intent by

disclaiming that he can enforce the interpretation of the Crane Letter. He explained

in a formal legal opinion that he has no enforcement authority over this statute “un-

less a county prosecutor specifically so requests and an appointment is made by the

district court under Idaho Code § 31-2603.” Dkt. 106-1 at 4. Plaintiffs do not allege

that either of those things has happened here, so by his own admission, the Attorney

General has no enforcement authority. Nor does the Attorney General have “formal

power to refer anything to county prosecutors, who are elected officials with different

constituencies that do not answer to the Attorney General.” Dkt. 107 at 6. And while

having no enforcement authority necessarily means having no intent to enforce, even

if a case were referred to him by a county prosecutor, the Attorney General does not

defend the theory of the Crane Letter and it is not being enforced. Tr. at 45–46 (Apr.

24, 2023); Dkt. 107 at 1; Dkt. 85 at 10. Put simply, the Attorney General has shown

that he does not intend to bring any prosecution consistent with the theory of the

Crane Letter.

      Thus, even if the Ninth Circuit were to accept this Court’s interpretation of the

law, the Attorney General would have “definitively establish[ed]” that “no case or

controversy exists.” Dkt. 153 at 54–55. He is likely to prevail.




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III. The balance of harms and the public interest favor a stay.

      Finally, the Court should find that the balance of harms and public interest

also support a stay. For the reasons above, there is no prejudice to Plaintiffs from a

stay, since the Attorney General has made clear that the Crane Letter “is not an

opinion that is being enforced,” Tr. at 45–46, that he “neither holds nor defends” its

interpretation, Dkt. 107 at 1, and that he lacks authority to enforce the statute at

issue. Dkt. 106-1 at 4. They suffer no harm from a withdrawn interpretation that is

not and cannot be enforced. Plaintiffs plainly do not feel threatened by the Crane

Letter—even before the Court’s order, Planned Parenthood started a campaign

through six billboards around the Treasure Valley referring people to other states

where they can obtain an abortion. 1

      In addition, it is in the public interest to ensure that federal courts do not issue

advisory opinions. Rather, federal jurisdiction is limited to cases where the defendant

takes and defends a position opposing the plaintiff. The absence of any such contro-

versy here shows that a stay of such a proceeding pending appeal is warranted.




1 See Andrew Baertlein, Planned Parenthood billboards will direct Idahoans to out-

of-state abortion care, KTVB7 (July 25, 2023, 7:47 PM MDT), https://ti-
nyurl.com/mmn97ta7.

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                            CONCLUSION

The Court should stay all proceedings pending appeal.

DATED: August 2, 2023.

                               STATE OF IDAHO
                               OFFICE OF THE ATTORNEY GENERAL


                            By:     /s/ Lincoln Davis Wilson
                                    LINCOLN DAVIS WILSON
                                    Chief, Civil Litigation and
                                    Constitutional Defense
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                               General Raúl Labrador




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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to all counsel of record who have appeared in this matter.


                                               /s/ Lincoln Davis Wilson
                                              LINCOLN DAVIS WILSON
                                              Chief, Civil Litigation and
                                              Constitutional Defense




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